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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                                Chapter 7

 LIVE WELL FINANCIAL, INC.,                            Case No. 19-11317 (LSS)

                Debtor.


           GLOBAL NOTES REGARDING THE DEBTOR’S SCHEDULES OF
          ASSETS AND LIABILITIES, LIST OF EQUITY SECURITY HOLDERS,
                   AND STATEMENT OF FINANCIAL AFFAIRS

                                           Introduction

         Live Well Financial, Inc., the debtor in the above-captioned chapter 7 case (the “Debtor”),
files its (i) Schedules of Assets and Liabilities (the “Schedules”), (ii) List of Equity Security
Holders, and (iii) Statement of Financial Affairs (the “Statements” and collectively, the “Schedules
and Statements”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”). The Debtor has made reasonable and good faith efforts to prepare and file
the Schedules and Statements in accordance with section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

       On June 10, 2019 (the “Involuntary Petition Date”), three petitioning creditors filed an
involuntary petition against the Debtor under chapter 7 of the Bankruptcy Code with the
Bankruptcy Court.

        On July 1, 2019 (the “Order for Relief Date”), the Bankruptcy Court entered the Order for
Relief [D.I.49]. On that same date, the Office of the United States Trustee for Region 3 appointed
David W. Carickoff as trustee of the Debtor’s estate (the “Trustee”).

        The following global notes regarding the Schedules and Statements (the “Global Notes”)
pertain to, are incorporated by reference into, and comprise an integral part of the Schedules and
Statements. The Global Notes should be referred to and reviewed in connection with any review
of the Schedules and Statements.

        The Schedules and Statements (i) are unaudited; (ii) do not purport to represent financial
statements prepared in accordance with Generally Accepted Accounting Principles; (iii) were
gathered from a variety of different sources available to the Debtor; and (iv) were prepared with
such data to provide a cut-off as near as possible to the Order for Relief Date, except where the
Schedules or Statements specify a different measuring date. For example, certain parts of the
Statements use the filing of the case as the measuring date and, in such instances, the Involuntary
Petition Date has been used.

        Unless otherwise stated, the Schedules and Statements reflect the Debtor’s net book value
of assets and liabilities as of June 30, 2019.
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                                       Reservation of Rights

       Reasonable efforts have been made to prepare and file complete and accurate Schedules
and Statements based on the information available and reviewed at the time of preparation. Further
review of additional information may reveal inadvertent errors or omissions.

       All rights of the Debtor, the Debtor’s estate, and the Trustee are fully reserved to amend
the Schedules and Statements from time to time as may be necessary or appropriate. Investigation
and due diligence are ongoing.

        Nothing contained in the Schedules and Statements, or in these Global Notes, shall
constitute either a waiver of any rights of the Debtor, the estate or the Trustee or an admission by
any of them with respect to any issue in this chapter 7 case, including without limitation any issues
involving ownership of assets, values, amounts, security interests, liens, transfers, objections to
claims, substantive consolidation, equitable subordination, whether a person or entity is an
“insider” as that term is used in the Bankruptcy Code, any defenses, setoff, recoupment,
characterization or recharacterization of claims, characterization of contracts, assumption or
rejection of contracts or leases under the provisions of the Bankruptcy Code, and/or any claims or
causes of action arising under the Bankruptcy Code or under any other applicable law relating to
the recovery of assets or the avoidance of transfers for the benefit of creditors and the bankruptcy
estate.

        All rights of the Debtor, the estate, and the Trustee are fully reserved with respect to, among
other things, (a) the values, amounts, classification, treatment, and/or characterization of the assets
and liabilities listed on the Schedules and Statements; (b) the right to designate a claim listed on
the Schedules or Statements as “disputed,” “contingent,” and/or “unliquidated”; or (c) any
determination as to whether any claim listed on the Schedules or Statements may be exclusive or
inclusive of contingent and/or additional unliquidated amounts.

        All rights with respect to any claims, counterclaims, causes of action, defenses, or
arguments are fully reserved, and nothing contained in the Schedules and Statements, or in these
Global Notes, shall be deemed to be a waiver of any kind. Where the Debtor is named as a
defendant in pending litigation, nothing contained in the Schedules and Statements, or in these
Global Notes, shall be deemed to be an admission or determination with respect to, or a waiver of
any defense or objection to, any claim, counterclaim, or cause of action asserted in such litigation,
and all defenses, objections, and other rights with respect thereto are fully preserved.

        The Trustee currently is investigating a number of prepetition transactions and transfers by
the Debtor and related entities, as well as other potential challenges, claims, and causes of action.
The fact that a particular claim or liability is not listed on the Schedules and Statements as being
contingent, unliquidated, disputed, or subject to an offset as of the Order for Relief Date only
reflects Mr. Haddock’s knowledge in connection with such claim or liability as of the Order for
Relief Date and does not bind the Trustee in any investigation, litigation, contested matter,
adversary proceeding, civil action, or otherwise. The Trustee, on behalf of himself and on behalf
of the Debtor’s estate, expressly reserves all rights under applicable law, including without
limitation Bankruptcy Code section 502(d) and any other right of setoff or offset under applicable
law or rules, with respect to all parties, including all parties listed on Schedules D and E/F.


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        The Schedules and Statements have been signed by Glenwood L. Haddock. Mr. Haddock
was the Chief Financial Officer of Live Well Financial, Inc. from January 2019 through July 2019
and prior to that served as Senior Director of Operations. Mr. Haddock currently is a consultant
to the Trustee. In preparing, reviewing, and signing the Schedules and Statements, Mr. Haddock
necessarily has relied upon the efforts, statements, and representations of other parties. Mr.
Haddock has not (and could not have) personally verified the accuracy of every statement and
representation set forth in the Schedules and Statements, including statements and representations
concerning amounts owed to creditors.

                                    Confidential Information

        There may be instances in the Schedules and Statements where it was deemed necessary
or appropriate to redact from the public record information such as names, addresses, amounts, or
other details. Typically, this approach has been used because of (a) an agreement between the
particular Debtor and a third party, (b) concerns of confidentiality, or (c) concerns for the privacy
of an individual. The addresses of former employees, directors and officers have not been listed
in the Schedules and Statements and are on file with the Trustee. Any required notice or other
document will be mailed to the address listed in the Debtor’s books and records for such parties.
In addition, the Debtor may be parties to executory contracts that contain confidentiality provisions
and, where applicable, such confidential information has not been included in the Schedules or the
Statements.

                            Notes with Respect to Specific Schedules

Schedule A/B

       Part 1, Question 3. Cash values listed under Question 3 reflect statement balances as of
       June 30, 2019. Except for the Wells Fargo business checking account, the funds may be
       subject to claims asserted by certain creditors, including those listed on Schedule D.

       Part 3, Question 11. Following is a breakdown of the accounts receivable listed under
       Question 11:
                                                         Face        Doubtful/
         Account Receivable         Description         Amount      Uncollectible        Total
        Contour Mortgage          Broker Premium        $6,593.46           $0.00        $6,593.46
        Guaranteed Rate           Broker Premium        $2,675.40           $0.00        $2,675.40
        Mortgage Direct           Broker Premium        $3,564.90           $0.00        $3,564.90
        Mortgage Direct           Broker Premium        $4,861.69           $0.00        $4,861.69
        Red Wagon Mortgage        Broker Premium        $8,897.09           $0.00        $8,897.09
        Thomas Scherr             Employee Note        $11,334.46           $0.00       $11,334.46
                                                                                        $37,927.00




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      Part 4, Question 16. The values listed under Question 16 for the GNMA Bonds reflect
      the aggregate “Market Value” set forth on the U.S. Bank statements for accounts no.
      -06000 and -26000 as of June 30, 2019. The “Market Value” listed for account no. -26000
      corresponds to the collateral value listed on Schedule D for Flagstar Bank, FSB. These
      bonds were surrendered to Flagstar Bank, FSB, pursuant to the Stipulation Granting
      Flagstar Bank, FSB, a Federal Chartered Savings Bank, Limited Relief from the Automatic
      Stay (see Order at D.I. 97). The “Market Value” listed for account no. -06000 corresponds
      to the sum of the collateral values listed on Schedule D for Industrial and Commercial Bank
      of China Financial Services, LLC and for Mirae Asset Securities (USA) Inc. No
      independent analysis has been undertaken for the “Markey Values” listed under
      Question 16.

      Part 7, Question 38-41. The Debtor’s office furniture, equipment, and fixtures have been
      sold, abandoned or otherwise disposed of (see, e.g., Order at D.I. 105). The Trustee or his
      consultants have possession of the Debtor’s servers and certain computer equipment.

      Part 9, Question 55. The two properties listed under question 55 were real estate owned
      (REO) as of June 30, 2019. Subsequently, the Locust Grove, Virginia property was sold
      in July 2019 and the value listed under question 55 represents the net sale proceeds. The
      Rockaway Beach, Missouri property remains REO and the value listed under question 55
      represents the outstanding loan balance as of June 30, 2019.

      Part 11, Question 71. The first three loans listed under question 71 are Live Well-owned
      loans. Together with the REO, these loans sometimes are referred to as the “scratch and
      dent” loans.

      The approximately 230 loans warehoused with First Tennessee Bank, N.A. and listed under
      question 71 are in the process of being surrendered to the bank pursuant to the Stay Relief
      Stipulation and Collateral Surrender Agreement (see Order at D.I. 104). The actual value
      ultimately realized from the liquidation of such loans could differ materially from the
      Debtor’s net book value as of June 30, 2019.

Schedule D

      The Debtor may not have listed on Schedule D all parties that may assert their claims are
      secured. See Global Notes to Schedule A/B above for information regarding certain
      specific asset values.

Schedule E/F

      Part 1. The inclusion of any claim on Schedule E/F does not constitute an admission that
      such claim is entitled to priority treatment of any kind under section 507 of the Bankruptcy
      Code. All rights are fully reserved to dispute or to seek to reclassify the asserted priority
      status of any claim on any basis.

      Part 2. Reasonable efforts have been taken to report on Schedule E/F all known general
      unsecured claims against the Debtor as of the Order for Relief Date, according to the
      Debtor’s books and records.


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       Certain claims listed on Schedule E/F, including without limitation the claims scheduled
       on behalf of Five Elms Coinvest, L.P., Five Elms Equity Fund I L.P., Five Elms Haakon,
       L.P., LWFVEST, LLC, North Hill Ventures, II LP, James Brown, Gantcher Family
       Limited, and Eric Legoff, may relate to the purchase and sale of certain preferred stock
       issued by the Debtor and such claims may be subject to subordination.

       The total amount of unsecured claims listed on Schedule E/F does not include any amounts
       for potential deficiency claims of creditors listed on Schedule D.

Schedule G

       Reasonable efforts have been made to identify contracts and leases that existed as of the
       Order for Relief Date. The inclusion of a particular agreement on Schedule G shall not
       constitute or be deemed to be an admission that such an agreement is an executory contract
       or an unexpired lease that was in effect on the Order for Relief Date or that such agreement
       was or remains valid or enforceable, nor shall it be deemed an assumption of any such
       agreement. Similarly, the omission of any particular agreement from Schedule G shall not
       constitute or be deemed to be an admission that such agreement is not an executory contract
       or an unexpired lease, nor shall it be deemed to be a rejection of any such agreement. All
       rights of the Debtor, the Debtor’s estate, and the Trustee under the Bankruptcy Code with
       respect to all such agreements are fully reserved.

       Certain month-to-month non-residential real property leases have been listed on Schedule
       G out of an abundance of caution. All non-residential real property leases listed on
       Schedule G have been terminated or rejected, as applicable, by no later than either the
       Order for Relief Date or such other date as is set forth in the Order Pursuant to Sections
       105, 365, and 554 of the Bankruptcy Code and Bankruptcy Rules 6006 and 6007
       Authorizing (I) the Rejection of Certain Unexpired Leases of Nonresidential Real Property
       and (II) Abandonment of Related Personal Property (D.I. 105).

                     Note with Respect to List of Equity Security Holders

According to the Debtor’s books and records, as of the Involuntary Petition Date, Michael C. Hild
was the holder of approximately 54.88% of the common stock of the Debtor and no other party
held five percent (5%) or more of the Debtor’s common stock.

                          Notes with Respect to Specific Statements

Part 1, Question 2

       The amounts of non-business revenue listed under Question 2 are revenues from bond
       trading activities during the respective periods per the Debtor’s books and records. These
       amounts do not reflect losses from such bond trading activities, which may materially




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      reduce such amounts. The actual amounts of non-business revenue may differ materially
      from those reflected in the Debtor’s books and records.

Part 2, Question 3

      The amounts listed under Question 3 and on Attachment 3 are transfers which, according
      to the Debtor’s books and records, were made during the period from March 12, 2019 to
      June 10, 2019, other than (i) regular employee compensation, (ii) transfers where the
      aggregate value transferred to a particular party was less than $6,825, and (iii) transfers
      listed under Question 4 below.

Part 2, Question 4

      The amounts listed under Question 4 and on Attachment 4 are transfers which, according
      to the Debtor’s books and records, were made during the period from June 10, 2018 to June
      10, 2019 either to an “insider,” as that term is defined in Bankruptcy Code section 101(31),
      or that may have benefited an insider.

      Transfers that may have benefited an insider include transfers to the Debtor’s lenders either
      as part of loan transactions or in connection with the surrender of certain collateral. In each
      case the debt was guaranteed by an insider, Michael C. Hild.

      Transfers to insiders include payroll, expense reimbursement, director fees, and guaranty
      fees. For payroll, the Debtor paid such amounts to Paychex, Inc., the Debtor’s third party
      payroll processor, which made the applicable payments to the employees.

Part 2, Question 7

      The Debtor has used reasonable efforts to report all legal actions, proceedings,
      investigations, arbitrations, mediations, and audits by federal or state agencies in which the
      Debtor was a defendant or respondent within one year prior to the Involuntary Petition
      Date.

      As of the Involuntary Petition Date, the Debtor was or had been a plaintiff or party to
      approximately 100 state foreclosure actions or similar lawsuits in connection with its now-
      terminated residential mortgage origination and servicing business. Upon information and
      belief, the Debtor has been or will be substituted as a party in such litigation by the
      successor servicer or another party. Due to the volume of such foreclosure actions, they
      have not been listed under Question 7.

      Since the Order for Relief Date, the Debtor and certain of its former officers and employees
      have been named as defendants in a civil action filed by the U.S. Securities and Exchange
      Commission. See Case Civil Action No. 1:19-cv-8086 (S.D.N.Y.).

Part 13, Question 30

      The amounts listed under Question 30 and on Attachment 30 also appear under Part 2,
      Question 4 and on Attachment 4.


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            Fill in this information to identify the case:

 Debtor name            Live Well Financial, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)               19-11317-LSS
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                   $            97,348.02

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                      $     267,806,983.14

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                     $     267,904,331.16


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                   $     343,203,222.23


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                      $            13,738.97

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                +$       18,229,547.26


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        361,446,508.46




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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            Fill in this information to identify the case:

 Debtor name        Live Well Financial, Inc.

 United States Bankruptcy Court for the:          DISTRICT OF DELAWARE

 Case number (if known)        19-11317-LSS
                                                                                                                                Check if this is an
                                                                                                                                 amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’ s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
      Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                             Current value of
                                                                                                                                 debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)          Type of account                     Last 4 digits of account
                                                                                                      number


            3.1.   Wells Fargo Bank, N.A.                                 Business checking           6771                                $1,774,751.85




            3.2.   Wells Fargo Bank, N.A.                                 Escrow                      5540                                   $10,029.62




            3.3.   Customers Bank                                         Maintenance account         3379                                             $0.00




            3.4.   Customers Bank                                         GNMA P&I account            4238                                             $0.00




            3.5.   First Tennessee Bank, N.A.                             Escrow                      4296                                   $16,231.77




            3.6.   First Tennessee Bank, N.A.                             Mortgage insurance          4233                                   $33,392.33




            3.7.   First Tennessee Bank, N.A.                             Operating                   4198                                  $437,831.94


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                       page 1
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 Debtor           Live Well Financial, Inc.                                                Case number (If known) 19-11317-LSS
                  Name




           3.8.     First Tennessee Bank, N.A.                            GNMA P&I account            0016                       $111,005.16




           3.9.     First Tennessee Bank, N.A.                            GNMA T&I account            0009                        $19,323.12



           3.10
           .    Flagstar Bank, FSB                                        Operating                   6247                             $0.00



           3.11
           .    Flagstar Bank, FSB                                        Funding                     6403                         $2,268.59



           3.12
           .    Flagstar Bank, FSB                                        Money market                6445                             $9.89



           3.13
           .    Republic Bank & Trust Company                             Settlement                  7461                         $8,809.66



           3.14
           .    Republic Bank & Trust Company                             Funding                     7488                        $30,018.09



           3.15
           .    Republic Bank & Trust Company                             Pledge                      5983                           $94.10



           3.16
           .    Republic Bank & Trust Company                             Escrow                      3643                          $734.38



           3.17
           .    Republic Bank & Trust Company                             GNMA P&I account            3651                             $0.00



           3.18
           .    Republic Bank & Trust Company                             Operating                   3678                        $18,837.46



           3.19
           .    Republic Bank & Trust Company                             Trust for Everbank          4933                       $523,031.46



           3.20
           .    Republic Bank & Trust Company                             GNMA T&I account            4099                             $0.00



           3.21
           .    Mirae Asset Securities (USA) Inc.                         Money Market                                            $54,535.36


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                          page 2
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 Debtor            Live Well Financial, Inc.                                                 Case number (If known) 19-11317-LSS
                   Name




 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                   $3,040,904.78
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
      Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     JNM Holdings (NJ Security Deposit)                                                                              $3,750.00




            7.2.     Jersey Central Power & Light (NJ Utility Deposit)                                                                  $50.00




            7.3.     WeWork NY (NY Security Deposit)                                                                                 $5,250.00




            7.4.     Regus Corp. (NV Security Deposit)                                                                               $1,580.40




            7.5.     Proprty Reserve Inc. (San Diego Security Deposit)                                                              $23,529.23



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Hirschler Fleischer P.C. (prepaid legal)                                                                       $60,000.00




            8.2.     Wilmington Trust, N.A. (prepaid legal)                                                                         $25,000.00




            8.3.     Bayard, P.A. (prepaid legal)                                                                                   $75,000.00




            8.4.     Whiteford Taylor & Preston LLP (prepaid legal)                                                                $200,000.00




            8.5.     Mayer Brown LLP (prepaid legal)                                                                                $30,000.00



Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                            page 3
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 Debtor            Live Well Financial, Inc.                                                 Case number (If known) 19-11317-LSS
                   Name




            8.6.     Jackson Tidus, a Law Corporation (prepaid legal)                                                                     $5,000.00




            8.7.     Getzler Henrich & Associates LLC (prepaid consulting/CRO)                                                          $100,000.00




            8.8.     Arnall Golden Gregory LLP (prepaid legal)                                                                           $43,872.50




            8.9.     Fox, Wacleen & Dungee, LLP (prepaid legal)                                                                           $2,500.00



            8.10
            .    Arthur J. Gallagher, RMS (prepaid insurance (D&O))                                                                       $5,120.67



            8.11
            .    Hertz Richmond Holdings, LLC (prepaid rent)                                                                             $34,870.78



            8.12
            .    JNM Holdings, Inc. (prepaid rent)                                                                                        $4,796.27



 9.         Total of Part 2.                                                                                                        $620,319.85
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
      Yes Fill in the information below.
 11.        Accounts receivable


            11b. Over 90 days old:                            37,927.00    -                                0.00 =....                   $37,927.00
                                            face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                         $37,927.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
      Yes Fill in the information below.
                                                                                                       Valuation method used   Current value of
                                                                                                       for current value       debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                  page 4
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 Debtor         Live Well Financial, Inc.                                                   Case number (If known) 19-11317-LSS
                Name

           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC, partnership,
           or joint venture
           Name of entity:                                                % of ownership

 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:
                    GNMA Bonds (U.S. Bank Custodial Report Acct. No.
           16.1.    -06000)                                                                        Bloomberg                      $178,627,055.23


                    GNMA Bonds (U.S. Bank Custodial Report Acct. No.
           16.2.    -26000)                                                                        Bloomberg                       $38,685,437.53



 17.       Total of Part 4.                                                                                                 $217,312,492.76
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No.     Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.     Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
    Yes Fill in the information below.
           General description                                              Net book value of      Valuation method used   Current value of
                                                                            debtor's interest      for current value       debtor's interest
                                                                            (Where available)

 39.       Office furniture
           Office furniture at headquarters or other
           locations (liquidated or abandoned by Debtor
           or Trustee)                                                                    $0.00    Book                                    $0.00



 40.       Office fixtures
           Office fixtures at headquarters or other
           locations (liquidated or abandoned by Debtor
           or Trustee)                                                                    $0.00    Book                                    $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers, servers, and other equipment                                        $0.00    Book                                    $0.00



Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                               page 5
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 Debtor         Live Well Financial, Inc.                                                       Case number (If known) 19-11317-LSS
                Name

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books,
           pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections;
           other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                            $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.     Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
    Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                  Nature and extent     Net book value of            Valuation method used   Current value of
           property                                     of debtor's           debtor's interest            for current value       debtor's interest
           Include street address or other              interest in           (Where available)
           description such as Assessor                 property
           Parcel Number (APN), and type of
           property (for example, acreage,
           factory, warehouse, apartment or
           office building, if available.
           55.1. 31497 Russel Rd,
                    Locust Grove, VA
                    22508-2322
                    Loan No. -1252                          Fee Simple                  $2,666.00          Sale proceeds                        $2,666.00


           55.2.    453 Highway EE,
                    Rockaway Beach,
                    MO 65740
                    Loan No. -9717                          Fee Simple                 $94,682.02          Foreclosure                        $94,682.02



 56.       Total of Part 9.                                                                                                                 $97,348.02
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
           No
            Yes
 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
           Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 6
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 Debtor         Live Well Financial, Inc.                                                     Case number (If known) 19-11317-LSS
                Name

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
    Yes Fill in the information below.
            General description                                              Net book value of         Valuation method used        Current value of
                                                                             debtor's interest         for current value            debtor's interest
                                                                             (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.livewell.com                                                                 $0.00     Book                                         $0.00


            www.livewellfinancial.com                                                        $0.00     Book                                         $0.00



 62.        Licenses, franchises, and royalties
            State mortgage company licenses (Live Well
            requested surrender through NMLS June 28,
            2019)                                                                            $0.00     Book                                         $0.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                     $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
            Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
    Yes Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            D.H., Loan No. -3245 (reverse                                      281.06 -                                    0.00 =
            mortgage loan)                                          Total face amount       doubtful or uncollectible amount                     $281.06


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                       page 7
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 Debtor         Live Well Financial, Inc.                                                     Case number (If known) 19-11317-LSS
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           C.D., Loan No. -4764 (forward                                  248,501.78 -                                     0.00 =
           mortgage loan)                                           Total face amount       doubtful or uncollectible amount            $248,501.78


           M.M., Loan No. -6900 (forward                                   54,036.94 -                                     0.00 =
           mortgage loan)                                           Total face amount       doubtful or uncollectible amount             $54,036.94


           Appx. 230 mortgage loans                                    41,931,242.56 -                                     0.00 =
           warehoused with First Tennessee                          Total face amount       doubtful or uncollectible amount
           Bank, N.A.                                                                                                                $41,931,242.56



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

           Great Amercan Ins. Co. (management liability policy)                                                                            unknown


           AJ Gallager (UK) (E&O policy) (terminated for
           non-payment)                                                                                                                    unknown


           Debtor is listed as a loss payee for the three loans
           listed in question 71 above.                                                                                                    unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Escrow account no. -2776 (Wilmington Trust, N.A. as
           escrow agent under Escrow Agreement dated 12/3/2018
           among Reverse Mortgage Funding LLC and Live Well
           Financial, Inc.)                                                                                                           $4,561,276.41



 78.       Total of Part 11.                                                                                                        $46,795,338.75
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
           No
            Yes




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                 page 8
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 Debtor           Live Well Financial, Inc.                                                                            Case number (If known) 19-11317-LSS
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                         $3,040,904.78

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $620,319.85

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $37,927.00

 83. Investments. Copy line 17, Part 4.                                                                      $217,312,492.76

 84. Inventory. Copy line 23, Part 5.                                                                                          $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                            $97,348.02

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +            $46,795,338.75

 91. Total. Add lines 80 through 90 for each column                                                       $267,806,983.14              + 91b.               $97,348.02


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                               $267,904,331.16




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                       page 9
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           Fill in this information to identify the case:

 Debtor name          Live Well Financial, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)              19-11317-LSS
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
 2.1    First Tennessee Bank, N.A.                    Describe debtor's property that is subject to a lien           $41,216,385.92            $41,931,242.56
        Creditor's Name                               Mortgage loans and financial account(s)

        165 Madison Ave
        Memphis, TN 38103-2723
        Creditor's mailing address                    Describe the lien
                                                      Mortgage warehouse line
                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        No                                            Contingent
         Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Flagstar Bank, FSB                            Describe debtor's property that is subject to a lien           $68,339,270.87            $38,685,437.63
        Creditor's Name                               GNMA Bonds

        5151 Corporate Dr
        Troy, MI 48098-2639
        Creditor's mailing address                    Describe the lien
                                                      Repo Line
                                                      Is the creditor an insider or related party?
        GNMA Bonds                                    No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        No                                            Contingent
         Yes. Specify each creditor,                 Unliquidated
Officialincluding this creditor and its relative
          Form 206D                                    Disputed
                                                   Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
        priority.
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 Debtor      Live Well Financial, Inc.                                                                Case number (if know)   19-11317-LSS
             Name




       Government National
 2.3                                                Describe debtor's property that is subject to a lien                      unknown           $0.00
       Mortgage Association
       Creditor's Name


       451 7th St SW # B-133
       Washington, DC
       20410-0001
       Creditor's mailing address                   Describe the lien
                                                    Financial account(s)
                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative      Disputed
       priority.



       Industrial and Commercial
 2.4                                                Describe debtor's property that is subject to a lien              $129,446,430.39   $96,170,999.43
       Bank of China
       Creditor's Name                              GNMA Bonds

       1633 Broadway Fl 28
       New York, NY 10019-6708
       Creditor's mailing address                   Describe the lien
                                                    Repo Line
                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative      Disputed
       priority.




 2.5
       Mirae Asset Securities
       (USA) Inc.                                   Describe debtor's property that is subject to a lien              $104,201,135.05   $82,456,055.87
       Creditor's Name                              GNMA Bonds

       810 7th Ave Fl 37
       New York, NY 10019-5847
       Creditor's mailing address                   Describe the lien
                                                    Repo Line
                                                    Is the creditor an insider or related party?




Official Form 206D                    Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                               page 2 of 4
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 Debtor      Live Well Financial, Inc.                                                                Case number (if know)   19-11317-LSS
             Name

                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative      Disputed
       priority.



       Republic Bank & Trust
 2.6                                                Describe debtor's property that is subject to a lien                      unknown        $0.00
       Company
       Creditor's Name                              Financial account(s)

       9600 Brownsboro Rd
       Louisville, KY 40241-3901
       Creditor's mailing address                   Describe the lien
                                                    Mortgage warehouse line
                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative      Disputed
       priority.



 2.7   TIAA, FSB, f/k/a Everbank                    Describe debtor's property that is subject to a lien                      unknown        $0.00
       Creditor's Name


       501 Riverside Ave
       Jacksonville, FL
       32202-4934
       Creditor's mailing address                   Describe the lien
                                                    Financial account(s)
                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative      Disputed
       priority.



Official Form 206D                    Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                            page 3 of 4
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 Debtor      Live Well Financial, Inc.                                                            Case number (if know)        19-11317-LSS
             Name



                                                                                                                         $343,203,222
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  .23

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity
        Alston & Bird LLP
        90 Park Ave                                                                                       Line   2.1
        New York, NY 10016-1301

        Alston & Bird LLP
        1201 W Peachtree St                                                                               Line   2.1
        Atlanta, GA 30309-3449

        BODMAN PLC
        1901 Saint Antoine St Fl 6                                                                        Line   2.2
        Detroit, MI 48226-2336

        Burr & Forman LLP
        1201 N Market St Ste 1407                                                                         Line   2.6
        Wilmington, DE 19801-1163

        Carlton Fields Jorden Burt, P.A
        CityPlace Tower                                                                                   Line   2.7
        525 Okeechobee Blvd Ste 1200
        West Palm Beach, FL 33401-6350

        Gellert Scali Busenkell & Brown LLC
        1201 N Orange St Ste 300                                                                          Line   2.7
        Wilmington, DE 19801-1167

        Landis Rath & Cobb LLP
        919 N Market St Ste 1800                                                                          Line   2.2
        Wilmington, DE 19801-3033

        Landis Rath & Cobb LLP
        919 N Market St Ste 1800                                                                          Line   2.5
        Wilmington, DE 19801-3033

        Landis Rath & Cobb LLP
        919 N Market St Ste 1800                                                                          Line   2.4
        Wilmington, DE 19801-3033

        Schulte Roth & Zabel LLP
        919 3rd Ave                                                                                       Line   2.4
        New York, NY 10022-3902




Official Form 206D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                             page 4 of 4
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    Fill in this information to identify the case:

 Debtor name        Live Well Financial, Inc.

 United States Bankruptcy Court for the:          DISTRICT OF DELAWARE

 Case number (if known)         19-11317-LSS
                                                                                                                                                Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
          Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
          priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $1,332.63         $1,332.63
           Arizona Department of Economic                       Check all that apply.
           Security                                              Contingent
                                                                 Unliquidated
           PO Box 42027                                          Disputed
           Phoenix, AZ 85080
           Date or dates debt was incurred                      Basis for the claim:
                                                                Withholding tax
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                  No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

 2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                 $42.60        $42.60
           Arizona Department of Economic                       Check all that apply.
           Security                                              Contingent
                                                                 Unliquidated
           PO Box 42027                                          Disputed
           Phoenix, AZ 85080
           Date or dates debt was incurred                      Basis for the claim:
                                                                Unemployment insurance
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                  No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 26
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 Debtor      Live Well Financial, Inc.                                                                   Case number (if known)   19-11317-LSS
             Name

 2.3      Priority creditor's name and mailing address          As of the petition filing date, the claim is:                         $1,379.68   $1,379.68
          California                                            Check all that apply.
          Employment Development                                 Contingent
          Department                                             Unliquidated
          PO Box 826880                                          Disputed
          Sacramento, CA 94280-0001
          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

 2.4      Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $538.46   $538.46
          Cindy Moore (address on file)                         Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Wages
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

 2.5      Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $440.95   $440.95
          Connecticut                                           Check all that apply.
          Employment Security Division                           Contingent
          PO Box 2931                                            Unliquidated
          Hartford, CT 06104-2931                                Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

 2.6      Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $338.40   $338.40
          Erica Crittendon (address on file)                    Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
          Date or dates debt was incurred                       Basis for the claim:
                                                                Wages
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 26
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 Debtor      Live Well Financial, Inc.                                                                   Case number (if known)   19-11317-LSS
             Name

 2.7      Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $359.09   $359.09
          Florida                                               Check all that apply.
          Dept of Revenue                                        Contingent
          5050 W Tennessee St                                    Unliquidated
          Tallahassee, FL 32399-6585                             Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

 2.8      Priority creditor's name and mailing address          As of the petition filing date, the claim is:                         $1,923.07   $1,923.07
          Glenwood L. Haddock (address on                       Check all that apply.
          file)                                                  Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Wages
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

 2.9      Priority creditor's name and mailing address          As of the petition filing date, the claim is:                            $12.63   $12.63
          Hawaii                                                Check all that apply.
          Dept of Labor and Industrial                           Contingent
          Relations                                              Unliquidated
          PO Box 3827                                            Disputed
          Honolulu, HI 96812-3827
          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

 2.10     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $461.54   $461.54
          Karena Calhoun (address on file)                      Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
          Date or dates debt was incurred                       Basis for the claim:
                                                                Wages
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




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 2.11     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $320.00   $320.00
          Kevin Ferguson (address on file)                      Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Wages
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

 2.12     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $352.00   $352.00
          Lori Shelton (address on file)                        Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Wages
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

 2.13     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $332.59   $332.59
          Massachusetts                                         Check all that apply.
          Charles F. Hurley Building,                            Contingent
          19 Staniford St                                        Unliquidated
          Boston, MA 02114-2502                                  Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemplolyment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

 2.14     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                             $9.35   $9.35
          Michigan                                              Check all that apply.
          Unemployment Insurance Agency                          Contingent
          3024 W Grand Blvd Ste 11-500                           Unliquidated
          Detroit, MI 48202-6024                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




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 2.15     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $115.58   $115.58
          New Jersey                                            Check all that apply.
          Division of Unemployment                               Contingent
          1 John Fitch Plz                                       Unliquidated
          Trenton, NJ 08611-1760                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

 2.16     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $455.37   $455.37
          New York                                              Check all that apply.
          Department of Labor,                                   Contingent
          PO Box 15130                                           Unliquidated
          Albany, NY 12212-5130                                  Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

 2.17     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                            $91.11   $91.11
          Ohio                                                  Check all that apply.
          Dept of Jobs and Family                                Contingent
          PO Box 182413                                          Unliquidated
          Columbus, OH 43218-2413                                Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

 2.18     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                             $7.10   $7.10
          Oregon                                                Check all that apply.
          Employment Department                                  Contingent
          875 Union St NE                                        Unliquidated
          Salem, OR 97311-0800                                   Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




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 2.19     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $384.61   $384.61
          Pam Taylor (address on file)                          Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Wages
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

 2.20     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $769.23   $769.23
          Paula Foster (address on file)                        Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Wages
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

 2.21     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                         $1,153.85   $1,153.85
          Phil Gwaltney (address on file)                       Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Wages
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

 2.22     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                            $93.88   $93.88
          Tennessee                                             Check all that apply.
          Department of Labor and                                Contingent
          Workforce                                              Unliquidated
          220 French Landing Dr                                  Disputed
          Nashville, TN 37243-1002
          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




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 Debtor      Live Well Financial, Inc.                                                                   Case number (if known)   19-11317-LSS
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 2.23     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                            $42.00   $42.00
          Texas                                                 Check all that apply.
          Workforce Commission                                   Contingent
          101 E 15th St Ste 514                                  Unliquidated
          Austin, TX 78778-1442                                  Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Unemployment insurance
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

 2.24     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $217.95   $217.95
          Vantage Communications                                Check all that apply.
                                                                 Contingent
          6805 Route 202                                         Unliquidated
          New Hope, PA 18938-1079                                Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Telephone service
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                 Yes

 2.25     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                           $231.19   $231.19
          Verizon                                               Check all that apply.
                                                                 Contingent
          PO Box 4830                                            Unliquidated
          Trenton, NJ 08650-4830                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Telephone service
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                 Yes

 2.26     Priority creditor's name and mailing address          As of the petition filing date, the claim is:                         $1,713.78   $1,713.78
          Victoria Barnes (address on file)                     Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                       Basis for the claim:
                                                                Wages
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




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 2.27       Priority creditor's name and mailing address          As of the petition filing date, the claim is:                                   $45.84        $45.84
            Virginia                                              Check all that apply.
            Employment Commission                                  Contingent
            703 E Main St                                          Unliquidated
            Richmond, VA 23219-3315                                Disputed

            Date or dates debt was incurred                       Basis for the claim:
                                                                  Unemployment insurance
            Last 4 digits of account number                       Is the claim subject to offset?
            Specify Code subsection of PRIORITY                   No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes

 2.28       Priority creditor's name and mailing address          As of the petition filing date, the claim is:                                 $154.01         $154.01
            Washington                                            Check all that apply.
            Department of Labor and                                Contingent
            Industries                                             Unliquidated
            PO Box 34022                                           Disputed
            Seattle, WA 98124-1022
            Date or dates debt was incurred                       Basis for the claim:
                                                                  Unemployment insurance
            Last 4 digits of account number                       Is the claim subject to offset?
            Specify Code subsection of PRIORITY                   No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes

 2.29       Priority creditor's name and mailing address          As of the petition filing date, the claim is:                                   $89.20        $89.20
            Washington                                            Check all that apply.
            Department of Labor and                                Contingent
            Industries                                             Unliquidated
            PO Box 34022                                           Disputed
            Seattle, WA 98124-1022
            Date or dates debt was incurred                       Basis for the claim:
                                                                  PFML
            Last 4 digits of account number                       Is the claim subject to offset?
            Specify Code subsection of PRIORITY                   No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes

 2.30       Priority creditor's name and mailing address          As of the petition filing date, the claim is:                                 $331.28         $331.28
            Windstream                                            Check all that apply.
                                                                   Contingent
            PO Box 9001908                                         Unliquidated
            Louisville, KY 40290-1908                              Disputed

            Date or dates debt was incurred                       Basis for the claim:
                                                                  Telephone service
            Last 4 digits of account number                       Is the claim subject to offset?
            Specify Code subsection of PRIORITY                   No
            unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                   Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                         Amount of claim




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 Debtor      Live Well Financial, Inc.                                                               Case number (if known)           19-11317-LSS
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 3.1      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $83,157.50
          A4 International                                                  Contingent
                                                                            Unliquidated
          2222 Michelson Dr Ste 437                                         Disputed
          Irvine, CA 92612-1332
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.2      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $4,640.92
          Answer Force                                                      Contingent
                                                                            Unliquidated
          PO Box 35143                                                      Disputed
          Seattle, WA 98124-5143
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.3      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $12,005.50
          Arent Fox LLP                                                     Contingent
                                                                            Unliquidated
          PO Box 644672                                                     Disputed
          Pittsburgh, PA 15264-4672
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.4      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $525.00
          Bailey Appraisal Company                                          Contingent
                                                                            Unliquidated
          9700 University Blvd                                              Disputed
          Henrico, VA 23229-6429
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.5      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $66,071.70
          Baseline Analytics, LLC                                           Contingent
                                                                            Unliquidated
          450 State Road 13 # 328                                           Disputed
          Saint Johns, FL 32259-3860
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.6      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $375.00
          Black Knight Financial Services, LLC                              Contingent
                                                                            Unliquidated
          PO Box 742971                                                     Disputed
          Los Angeles, CA 90074-2971
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      5118                        Is the claim subject to offset?   No  Yes
 3.7      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Bluestone Analytics                                               Contingent
                                                                            Unliquidated
          600 E Water St Ste E                                              Disputed
          Charlottesville, VA 22902-5361
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.8      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $23,075.00
          Broad Street Valuations, Inc.                                     Contingent
                                                                            Unliquidated
          211 Elm St                                                        Disputed
          Holly, MI 48442-1404
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.9      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $0.00
          Burnet Central Appraisal District                                 Contingent
                                                                           Unliquidated
          PO Box 908
                                                                            Disputed
          Burnet, TX 78611-0908
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.10     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $49,445.90
          Cigna Healthcare                                                  Contingent
                                                                            Unliquidated
          1700 Lincoln St Lowr                                              Disputed
          Denver, CO 80274
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      7160                        Is the claim subject to offset?   No  Yes
 3.11     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $545.00
          Class Valuation                                                   Contingent
                                                                            Unliquidated
          2600 Bellingham Dr Ste 100                                        Disputed
          Troy, MI 48083-2014
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.12     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $3,732.92
          Comcast Business                                                  Contingent
                                                                            Unliquidated
          PO Box 37601                                                      Disputed
          Philadelphia, PA 19101-0601
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      2646                        Is the claim subject to offset?   No  Yes
 3.13     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $22,128.79
          Comergence Compliance Monitoring, LLC                             Contingent
                                                                            Unliquidated
          25910 Acero Ste 260                                               Disputed
          Mission Viejo, CA 92691-7940
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.14     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $12,526.00
          Compass Analytics                                                 Contingent
                                                                            Unliquidated
          580 California St Ste 1725                                        Disputed
          San Francisco, CA 94104-1046
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.15     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Compu-Link Corp. d/b/a Celink                                     Contingent
                                                                           Unliquidated
          3900 Capitol City Blvd
                                                                            Disputed
          Lansing, MI 48906-2147
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.16     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $3,408.00
          CoreLogic Flood Services, LLC                                     Contingent
                                                                            Unliquidated
          PO Box 202176                                                     Disputed
          Dallas, TX 75320-2176
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.17     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $7,023.43
          CoreLogic Information Solutions                                   Contingent
          Attn: Information Solutions                                       Unliquidated
          3001 Hackberry Rd                                                 Disputed
          Irving, TX 75063-0156
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      6610                        Is the claim subject to offset?   No  Yes
 3.18     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $219.01
          Creative                                                          Contingent
                                                                            Unliquidated
          11798 N Lakeridge Pkwy                                            Disputed
          Ashland, VA 23005-8152
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.19     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $29,662.30
          Credit Plus, Inc.                                                 Contingent
                                                                            Unliquidated
          15365 Collection Center Dr                                        Disputed
          Chicago, IL 60693-0153
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.20     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $6,079.24
          CSC - Corporate Service Company                                   Contingent
                                                                            Unliquidated
          PO Box 13397                                                      Disputed
          Philadelphia, PA 19101-3397
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.21     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $5,773,153.16
          Customers Bank                                                    Contingent
                                                                           Unliquidated
          99 Bridge St
                                                                            Disputed
          Phoenixville, PA 19460-3411
          Date(s) debt was incurred
                                                                           Basis for the claim:   Potential deficiency claim
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.22     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $1,201.00
          Cyberlink Software Solutions                                      Contingent
                                                                            Unliquidated
          1014 S Westlake Blvd # 14-125 WESTLAKE                            Disputed
          Westlake Village, CA 91361-3108
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.23     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $25,562.80
          Datamyx LLC                                                       Contingent
                                                                            Unliquidated
          2300 Glades Rd Ste 400E                                           Disputed
          Boca Raton, FL 33431-8540
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.24     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $535.70
          DataTree by First American                                        Contingent
                                                                            Unliquidated
          4 First American Way                                              Disputed
          Santa Ana, CA 92707-5913
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.25     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $1,252.10
          DataTree by First American - Retail                               Contingent
                                                                            Unliquidated
          PO Box 31001                                                      Disputed
          Pasadena, CA 91110-2286
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1075                        Is the claim subject to offset?   No  Yes
 3.26     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $8,934.66
          Document Systems, Inc.                                            Contingent
                                                                            Unliquidated
          1800 W 213th St                                                   Disputed
          Torrance, CA 90501-2832
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.27     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $22,545.00
          Double Positive Marketing Group, Inc.                             Contingent
                                                                            Unliquidated
          62865 Collection Center Dr                                        Disputed
          Chicago, IL 60601-0628
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.28     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $14,522.29
          Electronic Systems, Inc.                                          Contingent
                                                                            Unliquidated
          PO Box 603065                                                     Disputed
          Charlotte, NC 28260-3065
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.29     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $109,753.36
          Eric Legoff                                                       Contingent
                                                                            Unliquidated
          48 Hawthorne Pl                                                   Disputed
          Summit, NJ 07901-2133
                                                                           Basis for the claim:   Sale of preferred stock
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.30     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $10,703.13
          Federal National Mortgage Association                             Contingent
                                                                           Unliquidated
          1100 15th St NW
                                                                            Disputed
          Washington, DC 20005-1707
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.31     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $22,471.10
          First American Mortgage - Interthinx                              Contingent
                                                                            Unliquidated
          PO Box 31001-2268                                                 Disputed
          Pasadena, CA 91101-2268
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      2432                        Is the claim subject to offset?   No  Yes
 3.32     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $15,434.78
          First Insurance Funding                                           Contingent
                                                                            Unliquidated
          450 Skokie Blvd Ste 1000                                          Disputed
          Northbrook, IL 60062-7917
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.33     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $104,820.63
          Five Elms Coinvest, L.P.                                          Contingent
                                                                            Unliquidated
          4801 Main St Ste 700                                              Disputed
          Kansas City, MO 64112-2575
                                                                           Basis for the claim:   Sale of preferred stock
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.34     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $1,818,946.19
          Five Elms Equity Fund I L.P.                                      Contingent
                                                                            Unliquidated
          4801 Main St Ste 700                                              Disputed
          Kansas City, MO 64112-2575
                                                                           Basis for the claim:   Sale of preferred stock
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.35     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $110,986.55
          Five Elms Haakon, L.P.                                            Contingent
                                                                            Unliquidated
          4801 Main St Ste 700                                              Disputed
          Kansas City, MO 64112-2575
                                                                           Basis for the claim:   Sale of preferred stock
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.36     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $277.00
          Flexible Benefits Administrators                                  Contingent
                                                                            Unliquidated
          PO Box 8188                                                       Disputed
          Virginia Beach, VA 23450-8188
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.37     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $5,531.01
          Fox Rothschild LLP                                                Contingent
                                                                            Unliquidated
          997 Lenox Dr                                                      Disputed
          Lawrence Township, NJ 08648-2317
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      4866                        Is the claim subject to offset?   No  Yes
 3.38     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $178.80
          FP Mailing Solutions                                              Contingent
                                                                            Unliquidated
          PO Box 157                                                        Disputed
          Bedford Park, IL 60499-0157
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.39     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $275,000.00
          Gantcher Family Limited                                           Contingent
                                                                            Unliquidated
          44 Cocoanut Row                                                   Disputed
          Palm Beach, FL 33480-4069
                                                                           Basis for the claim:   Sale of preferred stock
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.40     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $117.49
          HALO Branded Solutions                                            Contingent
                                                                            Unliquidated
          3182 Momentum Pl                                                  Disputed
          Chicago, IL 60601-5331
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.41     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $1,050.00
          House Law Office, PLLC                                            Contingent
                                                                            Unliquidated
          1621 S Eucalyptus Ave Ste 209                                     Disputed
          Broken Arrow, OK 74012-5950
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.42     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $600.00
          I & G Real Estate Group                                           Contingent
                                                                            Unliquidated
          19881 Brookhurst St Ste C-253                                     Disputed
          Huntington Beach, CA 92646-4269
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.43     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $45.46
          iHance                                                            Contingent
                                                                            Unliquidated
          1712 S East Bay Blvd                                              Disputed
          Provo, UT 84606-6138
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.44     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $400.00
          Institute for Building Tech and Safety                            Contingent
                                                                            Unliquidated
          45207 Research Pl                                                 Disputed
          Ashburn, VA 20147-2418
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      DP26                        Is the claim subject to offset?   No  Yes
 3.45     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $2,058.00
          International Document Services                                   Contingent
                                                                            Unliquidated
          25 Elmen St                                                       Disputed
          Houston, TX 77001
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.46     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $80,000.00
          Intex Solutions, Inc.                                             Contingent
                                                                            Unliquidated
          110 A St                                                          Disputed
          Needham, MA 02494-2807
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.47     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $718,946.19
          James Brown                                                       Contingent
                                                                            Unliquidated
          169 Colonial Pkwy                                                 Disputed
          Manhasset, NY 11030-1800
                                                                           Basis for the claim:   Sale of preferred stock
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.48     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $3,600.00
          Jay Chalmers                                                      Contingent
                                                                            Unliquidated
          3535 1st Ave Unit 7D                                              Disputed
          San Diego, CA 92103-7803
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.49     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $0.00
          Jeneice Edmond                                                    Contingent
                                                                           Unliquidated
          1048 E 228th St
          Bronx, NY 10466-4820                                             Disputed
          Date(s) debt was incurred                                        Basis for the claim:   Consumer action
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.50     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $74,832.80
          Keiter Stephens Hurst Gary & Shreaves PC                          Contingent
                                                                            Unliquidated
          4401 Dominion Blvd                                                Disputed
          Glen Allen, VA 23060-3379
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      3320                        Is the claim subject to offset?   No  Yes
 3.51     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $45.55
          Land Home Financial                                               Contingent
                                                                            Unliquidated
          1355 Willow Way Ste 250                                           Disputed
          Concord, CA 94520-8113
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.52     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Landye Bennett Blumstein LLP                                      Contingent
                                                                            Unliquidated
          701 W 8th Ave Ste 1200                                            Disputed
          Anchorage, AK 99501-3467
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.53     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $953.75
          Law Offices of A. Peter Rausch, Jr.                               Contingent
                                                                            Unliquidated
          1930 Tienda Dr Ste 106                                            Disputed
          Lodi, CA 95242-3934
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.54     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $8,245.83
          LendingQB                                                         Contingent
                                                                            Unliquidated
          PO Box 846822                                                     Disputed
          Los Angeles, CA 90084-0036
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.55     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $6,262.40
          LexisNexis                                                        Contingent
                                                                            Unliquidated
          Date(s) debt was incurred                                         Disputed
          Last 4 digits of account number                                  Basis for the claim:

                                                                           Is the claim subject to offset?   No  Yes
 3.56     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $17,685.00
          LINKEDIN-128*1964351LINKEDIN.CO                                   Contingent
                                                                            Unliquidated
          62228 Collections Center Dr                                       Disputed
          Chicago, IL 60601-0622
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.57     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          LoanCare, LLC                                                     Contingent
          a Division of FNF Servicing, Inc C/O Cas                         Unliquidated
          3637 Sentara Way # Virginia
                                                                            Disputed
          Virginia Beach, VA 23452-4262
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.58     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $927.00
          LoanOfficerSchool.com                                             Contingent
                                                                            Unliquidated
          19391 SW Suncrest Ln                                              Disputed
          Beaverton, OR 97007-6056
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.59     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $114,370.00
          LRES CORPORATION                                                  Contingent
                                                                            Unliquidated
          765 The City Dr S                                                 Disputed
          Orange, CA 92868-4942
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.60     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $5,500,000.00
          LWFVEST, LLC                                                      Contingent
                                                                            Unliquidated
          PO Box 42333                                                      Disputed
          Henrico, VA 23242-2333
                                                                           Basis for the claim:   Sale of preferred stock
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.61     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Margaret Shakespeare                                              Contingent
          c/o Tusa P.C.                                                    Unliquidated
          PO Box 566
          Southold, NY 11971-0566                                          Disputed
          Date(s) debt was incurred                                        Basis for the claim:   Consumer action
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.62     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $475.00
          Market Value Appraisal Service                                    Contingent
                                                                            Unliquidated
          346 Elliston Rd                                                   Disputed
          Richmond, KY 40475-9516
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.63     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Monica Williams                                                   Contingent
          c/o Outten & Golden LLP                                          Unliquidated
          685 3rd Ave Fl 25
          New York, NY 10017-8413                                          Disputed
          Date(s) debt was incurred                                        Basis for the claim:   WARN complaint
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.64     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $454.10
          Mortgage Electronic Registration Systems                          Contingent
          MERS                                                              Unliquidated
          13059 Collection Center Dr                                        Disputed
          Chicago, IL 60693-0130
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.65     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $3,150.00
          Mortgage Quality Management & Research                            Contingent
                                                                            Unliquidated
          5900 Sepulveda Blvd Ste 432                                       Disputed
          Sherman Oaks, CA 91411-2577
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.66     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Mountain View Analytics                                           Contingent
                                                                            Unliquidated
          999 18th St                                                       Disputed
          Denver, CO 80202-2499
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.67     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $4,370.00
          National Reverse Mortgage Lenders Assoc.                          Contingent
                                                                            Unliquidated
          1400 16th St NW                                                   Disputed
          Washington, DC 20036-2217
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1880                        Is the claim subject to offset?   No  Yes
 3.68     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $2,569.76
          Network Titan                                                     Contingent
                                                                            Unliquidated
          9445 Farnham St Ste 103                                           Disputed
          San Diego, CA 92123-1308
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.69     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          New Leaf Recruiting                                               Contingent
          Attn: Robert Catalano                                             Unliquidated
          W289N4150 Farm Valley Ct                                          Disputed
          Pewaukee, WI 53072-3195
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.70     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $81,984.00
          New Retirement, Inc.                                              Contingent
                                                                            Unliquidated
          1933 Davis St                                                     Disputed
          San Leandro, CA 94577-1260
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.71     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $2,361,547.09
          North Hill Ventures, II LP                                        Contingent
                                                                            Unliquidated
          535 Boylston St Fl 6                                              Disputed
          Boston, MA 02116-3720
                                                                           Basis for the claim:   Sale of preferred stock
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.72     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $1,896.75
          Office Depot                                                      Contingent
                                                                            Unliquidated
          PO Box 1413                                                       Disputed
          Charlotte, NC 28201-1413
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.73     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $52.09
          Ohio Dept of Job & Family Services                                Contingent
                                                                            Unliquidated
          PO Box 182404                                                     Disputed
          Columbus, OH 43218-2404
                                                                           Basis for the claim:   Late filing penalty
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.74     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $51,623.60
          Optimal Blue                                                      Contingent
          Dept 3232                                                         Unliquidated
          PO Box 123232                                                     Disputed
          Dallas, TX 75312-3232
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      8829                        Is the claim subject to offset?   No  Yes
 3.75     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $496.80
          Optimal Mortgage Services, LLC                                    Contingent
                                                                            Unliquidated
          PO Box 2076                                                       Disputed
          Spring Hill, TN 37174-2076
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.76     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $83.60
          PACER Service Center                                              Contingent
                                                                            Unliquidated
          PO Box 71364                                                      Disputed
          Philadelphia, PA 19176-1364
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.77     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $2,475.00
          Paul N. Lovegrove, P.C.                                           Contingent
                                                                            Unliquidated
          21 Northfield Ln                                                  Disputed
          Bay Shore, NY 11706-7613
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor      Live Well Financial, Inc.                                                               Case number (if known)           19-11317-LSS
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 3.78     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $1,180.00
          Peak 10, Inc. / Flexential                                        Contingent
                                                                            Unliquidated
          PO Box 534409                                                     Disputed
          Atlanta, GA 30353-4409
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.79     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $6,835.93
          Performance Trust                                                 Contingent
                                                                            Unliquidated
          500 W Madison St                                                  Disputed
          Chicago, IL 60661-4544
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.80     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $184,511.70
          Puleo Delisle, PLLC                                               Contingent
                                                                            Unliquidated
          444 Route 111                                                     Disputed
          Smithtown, NY 11787-4773
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.81     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $82.10
          Quill Corporation                                                 Contingent
                                                                            Unliquidated
          PO Box 37600                                                      Disputed
          Philadelphia, PA 19101-0600
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.82     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $267.50
          Regus Corp                                                        Contingent
          Attn: Michael Stander                                             Unliquidated
          PO Box 842456                                                     Disputed
          Dallas, TX 75284-2456
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.83     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $97,125.00
          Reverse Lead Club, LLC                                            Contingent
                                                                            Unliquidated
          429 Santa Monica Blvd Ste 320A                                    Disputed
          Santa Monica, CA 90401-3401
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.84     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $20,000.00
          Reverse Market Insight, Inc.                                      Contingent
                                                                            Unliquidated
          34232 Pacific Coast Hwy Ste D                                     Disputed
          Dana Point, CA 92629-3856
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor      Live Well Financial, Inc.                                                               Case number (if known)           19-11317-LSS
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 3.85     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $0.00
          Reverse Mortgage Funding, LLC                                     Contingent
                                                                           Unliquidated
          700 Corporate Blvd
                                                                            Disputed
          Newburgh, NY 12550-6416
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.86     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $51,202.00
          Reverse Vision, Inc.                                              Contingent
          Attn: Riza Estacio                                                Unliquidated
          1620 5th Ave Ste 525                                              Disputed
          San Diego, CA 92101-2737
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.87     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $39,050.00
          Ring2Media                                                        Contingent
                                                                            Unliquidated
          121 Post Rd E                                                     Disputed
          Westport, CT 06880-3410
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.88     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $24,120.00
          RocketBike, LLC.                                                  Contingent
                                                                            Unliquidated
          623 High St                                                       Disputed
          Portsmouth, VA 23704-3423
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.89     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $1,165.24
          Royal Cup Coffee                                                  Contingent
                                                                            Unliquidated
          PO Box 841000                                                     Disputed
          Dallas, TX 75284-1000
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.90     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $2,111.20
          Salesforce.com Inc.                                               Contingent
                                                                            Unliquidated
          PO Box 203141                                                     Disputed
          Dallas, TX 75320-3141
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.91     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $2,475.00
          Smith, Stern, Friedman & Nelms, P.C.                              Contingent
          Parkway Office Center                                             Unliquidated
          14160 Dallas Pkwy Ste 800                                         Disputed
          Dallas, TX 75254-7304
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 3.92     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $585.33
          Sparkletts                                                        Contingent
                                                                            Unliquidated
          PO Box 660579                                                     Disputed
          Dallas, TX 75266-0579
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.93     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $3,018.24
          Subsequent QC, LLC                                                Contingent
                                                                            Unliquidated
          5900 Sepulveda Blvd Ste 432                                       Disputed
          Sherman Oaks, CA 91411-2577
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.94     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $660.00
          SWBC Lending Solutions, LLC                                       Contingent
                                                                            Unliquidated
          9311 San Pedro Ave Ste 600                                        Disputed
          San Antonio, TX 78216-4459
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.95     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $1,654.70
          TALX - AKA Equifax                                                Contingent
                                                                            Unliquidated
          4076 Paysphere Cir                                                Disputed
          Chicago, IL 60674-0040
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      7892                        Is the claim subject to offset?   No  Yes
 3.96     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $30,106.45
          TENA COMPANIES INC.                                               Contingent
                                                                            Unliquidated
          251 W Lafayette Frontage Rd                                       Disputed
          Saint Paul, MN 55107-1628
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.97     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $1,472.35
          Terra Office Solutions - SD printers                              Contingent
                                                                            Unliquidated
          2205 Glenridge Rd                                                 Disputed
          Escondido, CA 92027-4114
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.98     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $186.88
          The Money Store                                                   Contingent
                                                                            Unliquidated
          30 B Vreeland Rd Ste 200                                          Disputed
          Florham Park, NJ 07932
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor      Live Well Financial, Inc.                                                               Case number (if known)           19-11317-LSS
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 3.99     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $525.00
          The Property Sciences Group                                       Contingent
                                                                            Unliquidated
          395 Taylor Blvd Ste 250                                           Disputed
          Pleasant Hill, CA 94523-2293
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.100    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $30,630.00
          TSPN, Inc.                                                        Contingent
                                                                            Unliquidated
          3008 E Malapai Dr                                                 Disputed
          Phoenix, AZ 85028-4825
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.101    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $2,070.47
          TSRC - The Supply Room Companies                                  Contingent
                                                                            Unliquidated
          PO Box 791416                                                     Disputed
          Baltimore, MD 21279-1416
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.102    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $53.31
          Two River Computer                                                Contingent
                                                                            Unliquidated
          120 Fair Haven Rd                                                 Disputed
          Fair Haven, NJ 07704-3447
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.103    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $6,235.40
          U. S. Bank                                                        Contingent
          CM-9690                                                           Unliquidated
          PO Box 70870                                                      Disputed
          Saint Paul, MN 55170-0001
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.104    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $1,148.75
          UPS                                                               Contingent
                                                                            Unliquidated
          PO Box 7247-0244                                                  Disputed
          Philadelphia, PA 19019-0001
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.105    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $0.00
          William W. Boster, Jr.                                            Contingent
          c/o Mountain State Justice Inc.                                  Unliquidated
          325 Willey St
          Morgantown, WV 26505-5614                                        Disputed
          Date(s) debt was incurred                                        Basis for the claim:   Consumer action
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor       Live Well Financial, Inc.                                                              Case number (if known)           19-11317-LSS
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 3.106     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                  $316.11
           Windstream                                                       Contingent
                                                                            Unliquidated
           PO Box 9001908                                                   Disputed
           Louisville, KY 40290-1908
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
 3.107     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                $6,346.87
           Worth Higgins                                                    Contingent
                                                                            Unliquidated
           8770 Park Central Dr                                             Disputed
           Richmond, VA 23227-1146
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
 3.108     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.              $10,725.00
           Wrobel Markham LLP                                               Contingent
                                                                            Unliquidated
           360 Lexington Ave Fl 1502                                        Disputed
           New York, NY 10017-6552
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
 3.109     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                  $194.00
           Wyatt, Tarrant & Combs, LLP                                      Contingent
                                                                            Unliquidated
           250 W Main St Ste 1600                                           Disputed
           Lexington, KY 40507-1726
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
 4.1       ARP Foundation Litigation
           601 E St NW                                                                              Line     3.61
           Washington, DC 20049-0001
                                                                                                            Not listed. Explain

 4.2       Bielli & Klauder LLC
           1204 N King St                                                                           Line     3.30
           Wilmington, DE 19801-3218
                                                                                                            Not listed. Explain

 4.3       Buchanan Ingersoll & Rooney PC
           919 N Market St Ste 990                                                                  Line     3.79
           Wilmington, DE 19801-3036
                                                                                                            Not listed. Explain

 4.4       DLA Piper LLP (US)
           1201 N Market St Ste 2100                                                                Line     3.34
           Wilmington, DE 19801-1165
                                                                                                            Not listed. Explain




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           Name and mailing address                                                            On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                               related creditor (if any) listed?             account number, if
                                                                                                                                             any
 4.5       DLA Piper LLP (US)
           1201 N Market St Ste 2100                                                           Line      3.33
           Wilmington, DE 19801-1165
                                                                                                     Not listed. Explain

 4.6       DLA Piper LLP (US)
           1201 N Market St Ste 2100                                                           Line      3.35
           Wilmington, DE 19801-1165
                                                                                                     Not listed. Explain

 4.7       Dorsey & Whitney LLP
           51 W 52nd St                                                                        Line      3.21
           New York, NY 10019-6119
                                                                                                     Not listed. Explain

 4.8       Giskan Solotarof & Anderson LLP
           217 Centre St Fl 6                                                                  Line      3.61
           New York, NY 10013-3624
                                                                                                     Not listed. Explain

 4.9       Loizides, P.A.
           1225 N King St Ste 800                                                              Line      3.63
           Wilmington, DE 19801-3246
                                                                                                     Not listed. Explain

 4.10      Lowenstein Sandler LLP
           1251 Avenue of the Americas                                                         Line      3.85
           New York, NY 10020-1104
                                                                                                     Not listed. Explain

 4.11      McCreary, Veselka, Bragg & Allen, P.C.
           PO Box 1269                                                                         Line      3.9
           Round Rock, TX 78680-1269
                                                                                                     Not listed. Explain

 4.12      O'Hagan Meyer
           411 E Franklin St Ste 500                                                           Line      3.50                                    3320
           Richmond, VA 23219-2200
                                                                                                     Not listed. Explain

 4.13      Outten & Golden LLP
           685 3rd Ave Fl 25                                                                   Line      3.63
           New York, NY 10017-8413
                                                                                                     Not listed. Explain

 4.14      Sullivan Hazeltine Allinson LLC
           901 N Market St Ste 1300                                                            Line      3.64
           Wilmington, DE 19801-3079
                                                                                                     Not listed. Explain

 4.15      Troutman Sanders LLP
           600 Peachtree St NE Ste 3000                                                        Line      3.57
           Atlanta, GA 30308-2305
                                                                                                     Not listed. Explain

 4.16      Weir & Partners LLP
           824 N Market St Ste 800                                                             Line      3.21
           Wilmington, DE 19801-4939
                                                                                                     Not listed. Explain


 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                      5a.          $                    13,738.97
 5b. Total claims from Part 2                                                                      5b.    +     $                18,229,547.26
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 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                          5c.     $               18,243,286.23




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          Fill in this information to identify the case:

 Debtor name        Live Well Financial, Inc.

 United States Bankruptcy Court for the:          DISTRICT OF DELAWARE

 Case number (if known)        19-11317-LSS
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
    Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal      Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                 Virginia Lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining               Expires 11/30/2020            Hertz Richmond Holdings LLC
                                                                                      c/o Hertz Investment Group
               List the contract number of                                            21860 Burbank Blvd Ste 300S
                any government contract                                               Woodland Hills, CA 91367-6477


 2.2.        State what the contract or                 QuickBooks
             lease is for and the nature of             accounting software
             the debtor's interest                      and/or maintenance

                 State the term remaining               Expires 11/2019
                                                                                      Intuit Inc.
               List the contract number of                                            2700 Coast Ave
                any government contract                                               Mountain View, CA 94043-1140


 2.3.        State what the contract or                 New Jersey Lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining               Expires 9/7/2019
                                                                                      JNM Holdings, Inc.
               List the contract number of                                            95 Avenue of Two Rivers
                any government contract                                               Rumson, NJ 07760-1703


 2.4.        State what the contract or                 Microsoft 365 software
             lease is for and the nature of             licenses
             the debtor's interest

                 State the term remaining               Expires 12/2019. 1/2020       Microsoft Corporation
                                                                                      1 Microsoft Way
               List the contract number of                                            Redmond, WA 98052-8300
                any government contract




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
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 Debtor 1 Live Well Financial, Inc.                                                         Case number (if known)   19-11317-LSS
             First Name              Middle Name             Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.5.        State what the contract or                 Payroll services
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                    Paychex, Inc.
               List the contract number of                                          3960 Stillman Pkwy Ste 100
                any government contract                                             Glen Allen, VA 23060-4197


 2.6.        State what the contract or                 San Diego Lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining               Expires 6/30/2020           Property Reserve, Inc.
                                                                                    Attn: Property Manager
               List the contract number of                                          51 S Main St Ste 301
                any government contract                                             Salt Lake City, UT 84111-7512


 2.7.        State what the contract or                 Nevada Lease -
             lease is for and the nature of             vacated prior to June
             the debtor's interest                      30, 2019
                                                                                    Regus Corp.
                 State the term remaining               Month to Month              PO Box 842456
                                                                                    Dallas, TX 75284-2456
               List the contract number of                                          At
                any government contract


 2.8.        State what the contract or                 New York Lease -
             lease is for and the nature of             vacated prior to June
             the debtor's interest                      30, 2019

                 State the term remaining               Month to Month
                                                                                    WeWork 154 Grand LLC
               List the contract number of                                          154 Grand St
                any government contract                                             New York, NY 10013-3141


 2.9.        State what the contract or                 Escrow Agreement,
             lease is for and the nature of             dated as of December
             the debtor's interest                      3, 2018

                 State the term remaining
                                                                                    Wilmington Trust, N.A.
               List the contract number of                                          50 S 6th St Ste 1290
                any government contract                                             Minneapolis, MN 55402-1544




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          Fill in this information to identify the case:

 Debtor name        Live Well Financial, Inc.

 United States Bankruptcy Court for the:          DISTRICT OF DELAWARE

 Case number (if known)        19-11317-LSS
                                                                                                                               Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
     Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
     creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                    Name                            Check all schedules
                                                                                                                                 that apply:
    2.1      Michael C. Hild                  c/o Whiteford, Taylor & Preston LLC                Customers Bank                  D
                                              405 N King St Ste 500                                                              E/F         3.21
                                              Wilmington,, DE 19801
                                                                                                                                 G



    2.2      Michael C. Hild                  c/o Whiteford, Taylor & Preston LLC                First Tennessee                 D          2.1
                                              405 N King St Ste 500                              Bank, N.A.                       E/F
                                              Wilmington,, DE 19801
                                                                                                                                 G



    2.3      Michael C. Hild                  c/o Whiteford, Taylor & Preston LLC                Flagstar Bank, FSB              D          2.2
                                              405 N King St Ste 500                                                               E/F
                                              Wilmington,, DE 19801
                                                                                                                                 G



    2.4      Michael C. Hild                  c/o Whiteford, Taylor & Preston LLC                Republic Bank &                 D          2.6
                                              405 N King St Ste 500                              Trust Company                    E/F
                                              Wilmington,, DE 19801                                                              G




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